             Case 16-10363             Doc 42       Filed 03/03/17 Entered 03/03/17 16:11:38                          Desc Main
                                                      Document     Page 1 of 3
                                                  UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF MAINE


In re:
Dana M. Fadley,                                                                            Chapter 13

                                              Debtor(s)                                    Case No. 16-10363


                                              ORDER ALLOWING AND DISALLOWING CLAIMS
                                                       AND MODIFYING PLAN

   This matter came before the Court on the motion filed by the Debtor or Debtors (hereafter, the “Debtor”). After notice and hearing
or opportunity for hearing, and for good cause shown, it is hereby ORDERED:
I. ALLOWANCE OF CLAIMS. The following claims are allowed pursuant to 11 U.S.C. § 502 as follows.

   A. Administrative Expense Claims. The trustee’s fees shall be paid as provided by 28 U.S.C. § 586. Other administrative
expense claims are allowed as follows, and the confirmed plan is modified only as necessary to provide for such claims.
   1.    Trustee statutory fee (calculated at 10% of plan total):                               $6,948.00
   2.    Total Debtor's attorney fees and expenses allowed to date through plan:                    $0.00
   3.    Administrative expense reserve:                                                        $2,565.55
   4.    Other:                                                                                     $0.00


   B. Secured Claims Paid Directly By Debtor or Third Parties. The following secured claims shall be paid directly by the Debtor
or a third party pursuant to the existing contract(s). The lien securing each such claim shall not be impaired. Each claim to be paid by
the Debtor shall not be discharged pursuant to 11 U.S.C. § 1328 unless (i) the Debtor surrenders the collateral during the term of the
plan, (ii) the Court orders the return of the collateral to the creditor, or (iii) the Court grants relief from the automatic stay authorizing
the creditor to enforce its state-law interests against the collateral. If any portion of such secured claim has been or shall be paid by
the trustee (e.g., to cure prepetition arrears), then such portion is allowed elsewhere in this order.


Claim #                  Creditor Name                             Collateral                                     Details

          None


   C. Secured Claims Paid By Trustee From Debtor’s Funds. The following secured claims are hereby allowed and have been or
shall be paid by the trustee from funds paid by the Debtor. Treatment of such claims is set forth in the confirmed plan, which is
hereby modified only as necessary to provide for payment by the trustee as set forth below for each secured creditor.
                                                                                                          Plan Mo. 1 = July 2016

                                                           Allowed       Interest Amount       Total
Claim #                  Creditor Name                                                                               Payment Schedule
                                                           Amount             & Rate         Payments

   7      First Niagara Bank                              $13,603.09          $495.26        $14,098.35      Pro rata starting:       Mo. 1
    .     Collateral: 2013 Subaru Forrester                                     4.00%
    .                                          TOTALS:    $13,603.09          $495.26        $14,098.35



   D. Cure of Executory Contracts and Unexpired Leases. Monetary defaults on the following executory contracts and unexpired
leases will be cured as follows by payments by the trustee from funds paid by the Debtor. The confirmed plan is modified only as
necessary to provide for payment by the trustee as set forth below to cure each executory contract and/or unexpired lease.

                                                            Claim             Allowed
Claim #                  Creditor Name                                                        Interest        Interest Rate       Total Payments
                                                          Description          Claim

  NA      None                                                NA

    .                                                          TOTALS:



                                                                     Page 1
             Case 16-10363               Doc 42   Filed 03/03/17 Entered 03/03/17 16:11:38                         Desc Main
                                                    Document     Page 2 of 3
   E. Priority Claims. The following priority unsecured claims shall be paid as follows by the trustee from funds paid by the Debtor.
Treatment of such claims is set forth in the confirmed plan, which is hereby modified only as necessary to provide for payment by the
trustee as set forth below for each priority creditor.
                                                         Claim               Allowed
Claim #                  Creditor Name                                                      Interest         Interest Rate   Total Payments
                                                       Description            Claim

   1      Internal Revenue Service                         taxes            $37,849.73                                         $37,849.73

  12      Celena Knapp                                    wages             $6,938.15                                          $6,938.15

   .                                                         TOTALS:        $44,787.88                                         $44,787.88


   F. General Unsecured Claims. The following unsecured claims not entitled to priority status are hereby allowed. Treatment of
such claims, including provisions for Small Claims and other classes of general unsecured claims, is set forth in the confirmed plan,
which is hereby modified as set forth below. The trustee shall pay such claims accordingly.
   Special Classes: All special classes, if any, are noted below and shall be paid in full by the trustee.
   The sum of at least $1,080.21 shall be available for payment to allowed Class One and Class Two (Small) Claims, plus any
unused portion of the administrative expense reserve.


Claim #                  Creditor Name                                  Allowed Claim

   2      Capital One, NA                                                    $4,215.98

   3      Capital One, NA                                                    $1,153.93

   4      American Express Bank                                             $13,884.29

   5      Capital One Bank                                                   $1,211.24

   6      Capital One Bank                                                   $208.31

   8      U.S. Department of Education                                      $100,988.42

   9      TD Bank USA                                                        $2,458.54

  10      Midland Funding LLC                                                $3,895.83

  11      Midland Funding LLC                                                $2,172.88

  13      Celena Knapp                                                       $5,213.32

  14      Department Store National Bank                                     $529.61

   1      Internal Revenue Service                                          $22,073.38

   .                                                          TOTAL:        $158,005.73


  II. RESOLUTION OF OBJECTIONS TO CLAIMS. The Debtor’s objections to claims, if any, are resolved as follows:


Claim #                  Creditor Name                                                    Disposition

  15      Town of Dover-Foxcroft                     claim disallowed


  III. PLAN CONFIRMATION AND MODIFICATION.




                                                                   Page 2
            Case 16-10363           Doc 42         Filed 03/03/17 Entered 03/03/17 16:11:38              Desc Main
                                                     Document     Page 3 of 3
The plan was previously confirmed. The distribution to creditors does not change, but the payment schedule is modified to provide
that the Debtor has paid the trustee $3690 as of January 25, 2017. He will pay the trustee $615 per month commencing in February,
2017 for six months, then pay $1350 per month for 46 months. The total base plan is $69,480 and the term is 59 months. The Debtor
shall also pay the trustee as additional plan contributions all state and federal tax refunds in excess of $1,200.00 per year.



     IV. SUMMARY.
                                                                                    Percent of Plan
A.        Total Funds to Trustee (Base Plan):                          $69,480.00      100.00%
B.        Disbursements:
     1.   Trustee Statutory Fee:                                        $6,948.00      10.00%
     2.   Atty. Fees & Expenses Allowed Through Plan:                       $0.00       0.00%
     3.   Administrative Reserve:                                       $2,565.55       3.61%
     4.   Other Administrative Expenses:                                    $0.00       0.00%
     5.   Secured Claims and Interest:                                 $14,098.35      20.31%
     6.   Priority Claims:                                             $44,787.88      64.52%
     7.   Gen. Unsecured Claims: Classes One & Two                      $1,080.21       1.56%
     8.   Gen. Unsecured Claims: Special Classes                            $0.00       0.00%

C.        TOTAL Disbursements (Base Plan):                             $69,479.99      100.00%


D.        Tax refunds due to plan from tax years                           $0.00
          ending prior to January 1, 2016
E.        TOTAL Plan (Base + Tax Refunds):                             $69,480.00



     V.                    OTHER
          N/A




Date: _____________________________                              ______________________________________________
                                                                 Judge, United States Bankruptcy Court
                                                                 District of Maine




                                                              Page 3
